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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

ALISON ENDICOTT-QUIÑONES,
Guardian ad Litem, on behalf of
A. D., R. B., E. B., and M. B.,
minor children,

               Plaintiffs,

vs.                                                            No: 1:21-cv-00368 KG/JHR

PATRICIA GARZA, in her individual
and official capacity; REBECCA LIGGETT,
in her individual and official capacity; BRENDA
SALDANA, in her individual and official capacity;
NEW MEXICO CHILDREN YOUTH &
FAMILIES DEPARTMENT; and DOES 1-50,

               Defendants.

            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS

       COME NOW New Mexico Children, Youth and Families Department (“CYFD”), Patricia

Garza, Rebecca Liggett, and Brenda Saldana (collectively “Defendants”), by and through their

attorneys, Park & Associates, LLC (Alfred A. Park, Lawrence M. Marcus, and James J. Grubel),

and for their Reply in Support of Motion to Dismiss state as follows:

       There is no dispute that the circumstances of this matter are tragic, particularly for M.B.

However, Plaintiffs’ assertions that their constitutional rights were violated by Defendants are

without merit. Plaintiffs’ Response (Doc. 28) conflates case authority concerning placement of

children in foster care and those cases, like exists here, where children were returned to the

biological parents from whom they were originally removed. Defendants cannot be held to have

violated Plaintiffs’ constitutional rights as a matter of law based on the facts set forth in the First

Amended Complaint (Doc. 21).




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        Plaintiffs’ Response asserts that the children were placed into foster care and never left

foster care. Id. at 1. However, that distinction is not relevant to whether Defendants had a

constitutional duty to ensure the health and safety of the Plaintiffs. Rather, it is a futile attempt to

escape the legally inevitable conclusion that Plaintiffs cannot prevail because they were harmed

by their parents after the status quo ante had been restored. Plaintiffs’ assertions are dependent on

their misplaced reliance on case authority where children were harmed by foster parents or by

parents who would not have been in a position to harm their children but for the actions of state

officials. Here, the Plaintiffs were removed from their parents and then returned to their parents.

Pursuant to DeShaney v. Winnebago County Dep’t of Social Servs., 489 U.S. 189, 196 (1989) and

additional authority from the Tenth Circuit, Plaintiffs’ claims fail. None of the case law identified

by Plaintiffs alters this conclusion.

        1. The cases cited by Plaintiffs do not support their claims.

        The Due Process Clause of the Fourteenth Amendment provides, “No State shall ... deprive

any person of life, liberty, or property, without due process of law.” U.S. Const. amend. XIV § 1.

“[N]othing in the language of the Due Process Clause itself requires the State to protect the life,

liberty, and property of its citizens against invasion by private actors.” DeShaney at 989.

Accordingly, “[a]s a general matter, ... a State’s failure to protect an individual against private

violence simply does not constitute a violation of the Due Process Clause.” Id. at 197, see also

Uhlrig v. Harder, 64 F.3d 567, 572 (10th Cir. 1995) (“[S]tate actors are generally only liable under

the Due Process Clause for their own acts and not for private violence.”). Plaintiffs cite to multiple

cases to support the contention that Defendants had a special relationship with Plaintiffs or created

or enhanced the danger that harmed Plaintiffs. None of the cited cases support this position.




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       a. TD v. Patton and Currier v. Doran

       Plaintiffs cite to TD v. Patton 868 F.3d 1209 (10th Cir 2017) for the proposition that social

workers violate a child’s due process rights when they knowingly place that child in danger or

knowingly increase a child’s vulnerability to danger. Doc. 28 at 2. However, Patton does not alter

the conclusion here because it only applies when, but for the intervention of state employees, a

child would not be placed with a particular custodian. In contrast to the facts of Patton and Currier,

the Plaintiffs in this matter were returned to the same parents from which they were removed.

       In Patton, the child, TD, was living with his mother. Patton at 1212. After Denver

Department of Human Services (“DDHS”) was informed that there where issues with the mother’s

ability to care for TD, he was removed from her custody and placed in the custody of his biological

father. Id. TD was eventually removed from his father's home after DDHS received reports that

TD had sexual contact with his half-brother. DDHS later determined that during TD's placement

with father, TD had suffered severe physical and sexual abuse at the hand of his father. Id.

       TD sued DDHS and its employees for violation of his substantive due process pursuant to

the danger creation theory. The defendants moved for summary judgment on the grounds of

qualified immunity. The district court denied the motion for qualified immunity and the Tenth

Circuit affirmed that determination. The Tenth Circuit held that there were clearly established

rights pursuant to Currier v. Doran, 242 F.3d 905, 917 (10th Cir. 2001) that precluded qualified

immunity.

       In Currier, the Tenth Circuit also found that qualified immunity was not applicable. Like

Patton, a child was taken from a mother’s home and placed in the home of the child’s father. The

father then abused the child. The social workers in both cases failed to alert the juvenile court of

relevant facts undermining the fathers' fitness as caretakers and recommended that the fathers



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assume custody of the children—despite being on notice that the fathers' homes were places of

danger. And, in both cases, the social workers failed to investigate whether the fathers were

abusing their children, despite being on notice of evidence suggesting abuse.

       However, the facts of Currier and Patton are distinguishable from those present here.

Specifically, here the children were not moved from the care of one parent to the care of another.

Rather, the Plaintiff children were removed from their parents and returned to those parents.

Indeed, both Currier and Patton explicitly recognize this distinction. The Tenth Circuit in Currier

reasoned:

       Defendants, relying on DeShaney, argue that Plaintiffs have not alleged a
       constitutional violation because custody was simply transferred from one natural
       parent to another; thus, Defendants’ claim, they did not create the danger.
       DeShaney does not, however, compel this conclusion. In this case, Anthony and
       Latasha were removed from their mother and placed with their father. In DeShaney,
       Joshua was removed from his father and then returned to his father. See DeShaney,
       489 U.S. at 192, 109 S.Ct. 998. Anthony and Latasha would not have been exposed
       to the dangers from their father but for the affirmative acts of the state; the same
       cannot be said for Joshua in DeShaney.

Currier at 918

       Moreover, in her concurring opinion in Patton, Judge Briscoe noted that the holding in both

Currier and Patton directly conflicted with DeShaney. Judge Briscoe found that the test for a state

created danger has been applied too broadly. Patton, 868 F.3d 1209, 1236. Judge Briscoe noted

that the Supreme Court recognized that “in certain limited circumstances the Constitution imposes

upon the State affirmative duties of care and protection with respect to particular individuals.” Id.

(quoting DeShaney, 489 U.S. 189, 198 (emphasis supplied)). Significantly, the Tenth Circuit

“attempted to avoid the controlling precedent in DeShaney by drawing a distinction that returning

a child to the same parent did not increase the child's vulnerability to danger from violence at the

hands of that parent, but returning a child to a different parent did.” Patton at 1238-1239 (quoting

Currier at 918 (emphasis supplied)).
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         Plaintiffs’ Complaint asserts, at most, that Defendants failed to act to protect them from

the danger that their parents posed. Significantly, the existence of that danger predated the removal

of the Plaintiffs from their parents. Plaintiff do not, and indeed cannot, allege that the actions of

Defendants somehow increased or enhanced the danger posed by Plaintiffs’ parents. 1 Indeed, the

Response asserts that “Garza and Saldana had sufficient information to know that the Plaintiff

children of school age would not be educated, that the children and their parents would in all

likelihood return to their transient existence of living out of a vehicle, that the children would lack

adequate access to food, shelter and personal care, and that the parents would continue to medically

neglect their children. FAC at ¶¶ 154 – 156.” Doc. 28 at 9 (emphasis supplied). Plaintiffs concede

they were returned to the danger that existed prior to the removal of their parents. Pursuant to

DeShaney, the State does not become the permanent guarantor of an individual's safety by having

once offered him shelter.” DeShaney at 201. The facts here clearly fit withing the parameters of

DeShaney and are distinguishable from all the other cases Plaintiffs cite where children were

moved from one custodian to another. Defendants cannot be found to have created a danger as a

matter of law.

         b. Matthews v. Bergdorf

         Plaintiffs assert that Matthews v Bergdorf, 889 F.3d 1136 (10th Cir. 2018) supports their

contention that Defendants enhanced the danger or cut off aid to Plaintiffs. Plaintiffs are incorrect.

Specifically, Plaintiffs allege that the inactions of Ms. Saldana and Ms. Garza delayed informing

the Hobbs police that the Plaintiffs were missing and then stated they did not believe the children

were in danger. Doc. 28 at 7. “This effectively cut the children off from both public and private


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  Plaintiffs make various factual assertions that are red herrings. Plaintiffs assert that one of the children witnessed
domestic violence when they lived with their parents; that one of the children may have been subjected to
inappropriate sexual behavior; that Defendants worked to prevent the GAL from obtaining testimony, etc. Doc. 28
at 4-5. This litany of facts all relates to returning the Plaintiffs to their parents and the pre-existing danger.

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aid and made them more susceptible to the danger their parents posed to them.” Id. Plaintiffs’

reasoning is flawed.

        In essence, Plaintiffs are alleging that Defendants failed to act to remove them from a

dangerous preexisting situation. Moreover, Plaintiffs specifically recognize the danger was not

new. Plaintiffs assert “[g]iven the parents’ neglect of the children before going into custody and

the fact that they did not complete their treatment plans the parents engaging in the same type of

neglect that initially brought the children into custody was foreseeable.” Id. at 8 (emphasis

supplied). Importantly, “[f]oreseeability alone does not create an affirmative duty to protect on

behalf of the State. This means a state actor, absent some prior affirmative act by the actor giving

rise to a duty to protect, cannot be held liable under the state-created danger exception for the

failure to protect a plaintiff from harm.” Matthews at 1150 (internal quotations omitted).

Plaintiffs’ assertions that Defendants knew of the danger posed by the parents is not relevant to

whether there was a duty, nor is it considered dispositive by the authority cited by Plaintiffs 2.

        Plaintiffs attempt to create a duty by citing to state statutes and regulations. Plaintiffs assert

CYFD is obligated to remove the children from the home of the parent, guardian, or custodian who

is engaged with CYFD in a trial home visit if the trial home visit is unsuccessful. N.M. Admin.

Code 8.10.8.13(E)(a) (“If the trial home visit is unsuccessful, then the child shall be removed”).

Doc. 28 at 8. However, “even if defendants' conduct clearly violated New Mexico statutes, they

would still be entitled to immunity from liability under § 1983 if their actions did not clearly violate



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  Plaintiffs cite to Schwartz v Booker, 702 F.3d 573 (10th Cir. 2012) to support their argument that the distinction
between physical and legal custody is without merit. However, in Booker, the child was placed with a foster parent.
That is fundamentally different because foster parents are employed by or are agents of the state. A special
relationship would arise.

Similarly, Plaintiffs cite to State of N.M. ex rel. CYFD v. Lisa A., 2008-NMCA-087, ¶ 9, 144 N.M. 324, 327, 187
P.3d 189, 192. However, the issue at bar there was whether a mother could obtain custody of her child from the
biological father. Neither a special relationship nor danger creation was at issue. The case has no bearing here.

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federal due process.” Starko, Inc. v. Gallegos, 2006-NMCA-085, ¶ 27, 140 N.M. 136, 145, 140

P.3d 1085, 1094.

       2. The location of Plaintiffs’ physical placement is the determinative factor in the
          determination of a special relationship, rather than their alleged status as foster
          children.

       Plaintiffs assert that New Mexico regulations would define the Plaintiffs as being in foster

care. Specifically, Plaintiffs contend that, under applicable regulations, “a “foster child” or “child

in foster care” as referred to as “child” herein, means a child who is placed in the care and custody

of children, youth and families department protective services division either under the legal

authorization of the Children's Code.” Doc 28 at 15 (emphasis supplied). Plaintiffs use this

reasoning in an attempt to distinguish the facts from Hernandez v. Rapp, 2003 WL 27385396,

(D.N.M. Mar. 31, 2003), wherein Plaintiffs claim the court determined the children were not in

foster care. The applicable regulation does not determine the appropriate standard. The Tenth

Circuit has established that the level of restraint it key. “[I]f the state restrains an individual’s

freedom to act to protect himself or herself through a restraint on that individual’s personal liberty,

the state may thereby enter into a ‘special relationship’ during such restraint to protect that

individual from violent acts inflicted by others.” Armijo v. Wagon Mound Pub. Schs., 159 F.3d

1253, 1261 (10th Cir. 1998)        As set forth in Starko, the state law determination of special

relationship is not relevant.

       Furthermore, Plaintiffs misread the cited regulation. The regulation states that a foster

child is one in the care and custody of CYFD. Here, the Plaintiffs were in the legal custody of the

state, but were in the care of their parents at the time the parents fled New Mexico. Hernandez

made it clear that children in the care of their biological parents were not in the care of the state.




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       Plaintiffs also criticize Defendants’ reliance on Hernandez, asserting that it is an

unpublished, older, and only a district court case. However, Hernandez specifically addressed the

issue of legal versus physical custody. Plaintiffs fail to explain why its holding that there is no

special relationship when a parent has physical control over his or her child would not dictate the

same result here. Further, while Hernandez did find that, as to some of the defendants, there was

a stated cause of action for danger creation, the facts are distinguishable. There the state took

children from both parents and then returned them to the sole custody of one parent who injured

them. Here, the children were taken from both parents and then returned to both parents. This

case is similar to DeShaney.

       More recent Tenth Circuit authority directly contradicts Plaintiffs’ assertions that a special

relationship or danger creation would apply here. In Hubbard v. Oklahoma ex rel. Oklahoma Dep't

of Hum. Servs., 759 F. App'x 693, 707 (10th Cir. 2018), the Tenth Circuit found that the facts,

which involved the death of a child, did not state a claim for either danger creation or for breach

of the special relationship. In Hubbard, there were nine reports made to the Oklahoma Department

of Human Services expressing concern that three children were being abused and neglected by

their biological parents. The allegations were that the home was horribly fifthly, there was a

convicted sex offender in the home, open drug abuse, and apparent unaddressed mental health

issues. Hubbard at 696. There was also evidence, and an apparent admission, that the children

were subjected to physical abuse and witnessed other domestic violence. Despite this, the state

officials initially determined the home was suitable.

       A few weeks later, local police determined the home was not suitable and directed that the

children be removed. A state court determined the children to be “deprived.” Id. State officials

formulated Individualized Service Plans for the biological parents, but before those plans were



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implemented, and before the unsuitable home conditions were corrected, DHS employees

recommended a trial reunification. The state court adopted the trial reunification plan in May 2013,

and the children were returned to their biological parents’ home. Id. at 696-697. The biological

parents did not remediate any of the issues, and in August 2013, the children were again removed

and then placed with foster parents. Id.

        The placement with the foster parents did not ameliorate the situation. Indeed, the children

were placed in equally terrible circumstances. One of the children suffered a broken vertebrae and

skull fracture resulting in death. At this point, the surviving children were removed and placed

with their great aunt and uncle, the Hubbards. The Hubbards sued numerous employees of the

Oklahoma Department of Human Services (“DHS”) under 42 U.S.C. § 1983 for violations of the

children’s substantive due process rights under the Fourteenth Amendment.            The district court

dismissed the federal claims and the Tenth Circuit affirmed.

        In affirming the district court, the Tenth Circuit found

        [T]he Hubbards have not pled sufficient facts to show that the state created the
        danger of private violence to the children. “[I]f the danger to the plaintiff existed
        prior to the state’s intervention, then even if the state put the plaintiff back in that
        same danger, the state would not be liable because it could not have created a danger
        that already existed.” Armijo, 159 F.3d at 1263. Even if the pre-foster-care
        defendants put the children in danger by restoring them to their biological parents’
        home, they did not create the danger.

Id. at 709.

        Here, the same reasoning would apply. According to the Complaint, the Plaintiffs were

removed from their parents and then returned. Moreover, the Complaint does not allege any facts

that would indicate that the parents posed a new danger once the Plaintiffs were initially removed

from their care. Indeed, the Complaint alleges that family retuned to its transient existence. Doc.

28 at 9. Defendants did not create a danger as a matter of law.



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       In relation to the allegations that the Oklahoma officials breached the special relationship

to the children in Hubbard, the Tenth Circuit made short shrift of that allegation. The special

relationship exception applies when a child is placed in foster care. Schwartz, 702 F.3d 573 at 580.

It does not apply when the children are in the custody of their biological parents. See Yvonne L.,

By & Through Lewis v. New Mexico Dep't of Hum. Servs., 959 F.2d 883, 891 (10th Cir. 1992)

(“[T]here is no affirmative duty of the state to protect a child who is in his parents’ custody.”

(citing DeShaney, 489 U.S. at 201, 109 S.Ct. 998)). Accordingly, the Tenth Circuit found that the

Hubbards did not a state a claim for relief under this theory. Id at 709. For the same reasons

Plaintiffs fail to sate a claim here. Further, assuming arguendo that Plaintiff can show the existence

of a special relationship or that Defendants created or enhanced a danger, those actions would not

shock the judicial conscience.

       3. The decision to place the children with their parents does not rise to the level of
          being conscience shocking

       Despite the tragic outcome for one of the Plaintiffs, the allegations asserted against the

Defendants, even when assumed to be true, do not rise to the level of conscience shocking. Under

either the special-relationship or danger-creation exceptions to the DeShaney rule, the plaintiff

must show that the defendant’s conduct “shocks the conscience.” Hubbard at 708. “Conduct that

shocks the judicial conscience ... is deliberate government action that is ‘arbitrary’ and

‘unrestrained by the established principles of private right and distributive justice.’ ” Seegmiller v.

LaVerkin City, 528 F.3d 762, 767 (10th Cir. 2008) (quoting County of Sacramento v. Lewis, 523

U.S. 833, 845, 118 S.Ct. 1708, 140 L.Ed.2d 1043 (1998)). “To show a defendant’s conduct is

conscience shocking, a plaintiff must prove a government actor arbitrarily abused his authority or

employ[ed] it as an instrument of oppression. The behavior complained of must be egregious and

outrageous.” Hernandez v. Ridley, 734 F.3d 1254, 1261 (10th Cir. 2013) (alteration in original)

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(quotations omitted). A defendant’s “conduct as a whole”—including “both action and inaction”—

are relevant in evaluating whether it “shocks the conscience.” Estate of B.I.C., 710 F.3d at 1174.

The Tenth Circuit considers the following principles when evaluating substantive due process

claims in this context: “(1) the general need for restraint; (2) the concern that § 1983 not replace

state tort law; and (3) the need for deference to local policy decisions impacting public safety.”

Currier, 242 F.3d at 920.

        “Conscience-shocking” is often defined by what it is not, or what it exceeds. See, e.g.,

County of Sacramento v. Lewis, 523 U.S. at 849, 118 S.Ct. 1708 (“[L]iability for negligently

inflicted harm is categorically beneath the threshold of constitutional due process.”); Gutteridge v.

Oklahoma, 878 F.3d 1233,1238-43 (10th Cir. 2018) (“[A] social worker who simply makes a

mistake of judgment under what are admittedly complex and difficult conditions will not find

herself liable in damages under § 1983.” (quoting Schwartz, 702 F.3d at 583)); DeAnzona v. City

& Cty. of Denver, 222 F.3d 1229, 1235 (10th Cir. 2000) (“Even knowingly permitting

unreasonable risks to continue does not necessarily rise to the level of conscience shocking.”);

Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504, 528 (10th Cir. 1998) (“[A] plaintiff must do

more than show that the government actor intentionally or recklessly caused injury to the plaintiff

by abusing or misusing government power.” (quotations omitted)).

       In Hubbard, the Tenth Circuit found that the allegations against various social workers,

while very likely negligent, were not so egregious to violate constitutional requirements. The

allegations against the defendants included vague assertions such as employees “took no action to

protect or safeguard the children.” Hubbard at 710. More specifically, the state defendants

allegedly failed to ensure that foster parents ensured that the children were taken to therapy. The

Tenth Circuit found that the failure to confirm therapy attendance was poor job performance, but



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not conscience shocking. Id. at 711. Further, the Tenth Circuit concluded that a social worker

was not informed that the foster parents spanked the children. This lack of information, and

perhaps even if the worker had known, did not lead to the conclusion that one of the children would

be killed months later. Id.

       Here, the allegations are that “Defendants engineered a scheme to remove Plaintiffs from

an appropriate foster home and leave them with their wholly unfit biological parents on a trial

home visit...” Doc. 21 at ¶ 3. The Complaint further alleges that the Plaintiffs were subsequently

kidnapped by their parents and one suffered catastrophic injuries. Id. at ¶ 4. Significantly, the

Complaint asserts that Plaintiffs were originally removed from their parents because they were

begging in the parking lot of a Walmart, were living out of a van, and the Plaintiffs were in poor

health. Id. at ¶¶ 28-30. Specifically, the Complaint alleges that Plaintiffs were suffering from

tooth decay, urinary tract infection, a first-degree sunburn, malnourishment, and tuberculosis. The

fact that the parents fled and that one of the children suffered a skull fracture, does not flow from

allegations of medical neglect. There are no allegations, while the Plaintiffs were in New Mexico,

that there was any evidence that they were being physically abused. At worst, Defendants simply

made a mistake of judgment under what are admittedly complex and difficult conditions. See

Schwartz.

        In Hubbard, the facts included indications of drug abuse, inappropriate sexual interaction

among the children, mental health issues, a filthy home, and corporal punishment. Corporal

punishment can be more easily extrapolated to lead to physical child abuse than failing to provide

dental services and living a transient lifestyle. Plaintiffs have the benefit of hindsight. However,

at the time the decision to allow a trial home visit was made, Defendants did not have knowledge




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of what would occur in North Carolina. The circumstances here are tragic, but they do not shock

the judicial conscience as a matter of law.

         4. The Individual Defendants are entitled to qualified immunity, as there was not
            clearly established right that children placed back with the parents from whom
            they were removed would violate due process.

         Upon the filing of a motion to dismiss on the basis of qualified immunity, a plaintiff’s

response must meet a “heavy two-part burden; otherwise, the defendants are entitled to qualified

immunity.” Holland ex rel. Overdorff v. Harrington, 268 F.3d 1179, 1186 (10thCir. 2001).

Specifically, “[o]nce a defendant asserts a qualified immunity defense, the burden shifts to the

plaintiff ... [to] show that (1) the official violated a constitutional or statutory right; and (2) the

constitutional or statutory right was clearly established when the alleged violation occurred.”

Baumeister v. N.M. Comm’n for the Blind, 425 F.Supp.2d 1250, 1268 (D.N.M. 2006) (quoting

Verdecia v. Adams, 327 F.3d 1171, 1174 (10thCir. 2003)).

         Plaintiffs have failed to satisfy their burden to overcome the defense of qualified immunity.

Plaintiffs have cited no authority that would support a claim for the violation of Plaintiffs’

constitutional rights pursuant to the special relationship exception, when the alleged injuries

occurred while Plaintiffs were in the care of their parents in a trial home visit. Plaintiffs also argue,

without any legal support, that there is no distinction between physical and legal custody.

However, Plaintiffs fail to explain how the authority cited by Defendants is not relevant Ex. Briggs

v. Oklahoma ex rel. Oklahoma Department of Human Services, 472 F.Supp.2d 1294

(W.D.Okla.2007); A.M. ex rel. Youngers v. New Mexico Dep't of Health, 65 F. Supp. 3d 1206,

1232 (D.N.M. 2014); A.S. v. Tellus, 22 F.Supp.2d 1217, 1221 (D.Kan.1998); Wooten v. Campbell,

49 F.3d 696 (11th Cir.1995); Clark v. City of Philadelphia, 2006 WL 2321574 (E.D.Pa. Aug. 8,

2006).



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        Significantly, Plaintiffs rely on cases where children were abused or otherwise injured

while they were in the care of foster parents. Foster parents are agents of the state and in New

Mexico are considered state employees. Accordingly, while children are in the care of foster

parents, there is a special relationship. However, that is fundamentally different from the facts

here. There are no allegations in the Complaint that the parents of the Plaintiffs were employed

by the state. To the contrary, the Plaintiffs allege that the Defendants had insufficient control over

the parents and that allowed them to abscond with the children. Lastly, the special relationship

does not exist when the children are in the custody of their biological parents. Yvonne L., By &

Through Lewis v. New Mexico Dep't of Hum. Servs., 959 F.2d 883, 891 (10th Cir. 1992).

Plaintiff’s allegations do not support a claim for the breach of the special relationship. Moreover,

because there is no breach, Plaintiffs cannot and do not identify on point Supreme Court, Tenth

Circuit, or other authority that would put the Patricia Garza, Brenda Saldana, or Rebecca Liggett

on notice that their actions violated Plaintiffs’ established rights.

        Similarly, Plaintiffs fail to distinguish the facts here from those in DeShaney. In both

instances, children were taken from their parents, placed into state custody, and then returned to

the same parents. This does not support danger creation as a matter of law. Accordingly, qualified

immunity is appropriate.

        5. Plaintiffs should not be permitted to yet again amend their complaint.

        Plaintiffs request that the Court grant leave for them to file an amended complaint should

it be inclined to grant Defendants’ motion to dismiss. However, Plaintiffs have already amended

their Complaint once. Moreover, and more importantly, any amendment would be futile because

the dispositive facts will not change. A court may properly deny leave to amend if amendment

would prove futile. See Mountain View Pharmacy v. Abbott Laboratories, 630 F.2d 1383, 1389

(10th Cir.1980)(Futility might warrant denial of leave to amend if the amended complaint would
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be subject to dismissal.) Plaintiffs were removed from their parents and then placed back in the

care of their parents. This fundamental fact will not change.

       WHEREFORE, Defendants respectfully request that the Court enter an order dismissing

with prejudice Plaintiff's First Amended Complaint for failure to state a claim, or alternatively,

based on qualified immunity, and for such further relief as the Court deems appropriate.


                                                     Respectfully Submitted:

                                                     PARK & ASSOCIATES, LLC


                                                     By /s/ James J. Grubel
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I hereby certify that a true and correct
copy of the foregoing was served via
CM/ECF filing system to all counsel
of record on this 19th day of October, 2021.


/s/ James J. Grubel
James J Grubel




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